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        STATE OF NEW YORK
        SUPREME CO URT                         MONROE COUNTY

        CHARLES R. ELLINGTON
                                                                                     SUMMONS

                                       PLAINTIFF,                             ~~~;c; ..vc:>. t'f-123                    {1   z-?
                           vs.                                                                            COU11J"l';,
        COUNTY Or MONROE, MONROE COUNTY SHERRIFF
        PATRICK M. O'FLYNN, DEPUTY MATI"I-IE.W
        WI-IITING, DEPUTY MICHAEL RIEGER,
        DEPUTY TODD SUTHERLAND, TOWN or GATES, .JOliN DOES
        NO I, 2 AND J AND .IOI·IN DOES 4, 5 AND 6 and .JOHN DOES
        ?THROUGH 12

                                       DEFENDANTS


        To the ahove named Dcl"cndants:

                 YOU 1\RE IIEREBY SUMMONED to appem in this action hy serving il uoticc of
        appearance 011 plaiutiff's allorncy within twenty days aJ'tcr the service of this sumnwns,
        exclusive of the day or service, or within thirty days after service is complete il this summons is
        1101 personally delivered to you within the Stale of New York; and in case of yom failure lo

        appear or answer, judgment will be taken against you by dcfaull for the relief demanded herein.


        Dated: April 21,2015
                                                                                           . . . . . .,        J
                                                                                           r.
                                                                                                &~
                                                                                                '-'<~·lY'l.->---
                                                                                      • Esq.
        Trial is desired in the County of Monroe                      All orne y for Pia inti rr
        The basis of venue designated above                           16 West Main Street Suite 100
        that plaintiff 1·esitle at Rochester, NY                      Rochester, New York J4(ll4
        in the County of Monroe                                       Telephone: (5H5)2.l2-~·W5X
,

    STATE OF NEW YORK
    SUPREME COURT                                          COUNTY OF MONROE

    CHARLES R. ELLINGTON
                                    PLAINTIFF
              ~VS -


    COUNTY OF MONROE, MONROE COUNTY SHERRIFF
    PATRICK M. O'FLYNN, DEPUTY MAlTIIEW
    WHITING, DEPUTY MICHAEL RIEGER,
    DEPUTY TODD SUTIIERLAND, TOWN OF GATES,
    .101-IN DOES NO I, 2 AND 3 AND .JOHN DOES
    4, 5 AND (lAND .IOI·IN DOES 7 THROUGH 12

                                    DEFENDANTS



                                       PRELIMINARY STATEMENT
    I. The plaint itT hy allllthrough his allorncy Patrick J. Burke, Esq. complaining of the dcfendants
    herein respectfully alleges a:-: follows:


                                                  PARTIES
    2. At all times hereinafter mentioned and relevant to this action Plaintiff Charles R. Ellington, Jr.
    was and is a resident of the City of Rochester, Monroe County, New York.


    3. Defend<llll COUNTY OF MONROE is and was at all limes hereillid"lcr mentioned and relcv;mt
    to this action a municipal entity created and authorized under the laws or the Stale of New York.
    II is authmiz.ed hy law to maintain a police department which acts as its agent in the an;a ol' law
    enforcement ;md for whid1 it is ultimately responsible. Dcfcndnnt COUNTY OF MONROE
    assumes the risks im:idcnlallo the maintenance or il police force   illld   the employment   or police
    nfriccrs. Defendant COUNTY OF MONROE at all times relevant herein has hcen the puhlic
    employer of Sheriff O'Fiynn and each of the deputies named herein.


    4. Defendant Town or Gales is and at all times hcrcinafler mentioned and relevant to this action a
    municipal entity c1eatcd and authmized under the laws or the Stt~le of New York. It is authoriLed
    by law to maintain a police department which acts its age nt~ in the area of law enforcement and



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         for which it is ultimately rc.t;ponsihle. Defendant Town of Gates assumes the risk im:idcntalto
         the maintenance of a pulice force and the employment         or police officers.

         5. Sheriff Patrid O'Fiynn is the duly elected Sheriff of the County or Mo111oc and upon
         informal ion and hcl icf 1esponsihlc for the training,   di~cipl inc   and retention of pol icc personnel
         employed by the County nl' Monroe, including all Monroe County Sheriff Deputies who
         responded to a call involving the Plaint iiT Charles R. Ellington, .I r. on the evening or .January 27,
         2014.


         o. That upon    information and belief and at all times relevant hereafter Deputies Michael Rieger,
         Matlhcw Whiting ami Todd Sutherland were all employed hy the County or Monroe as police
         officers with lhe Momne County Sheriff's Department.


         7. That upon informal ion and helicl' and at all times relevant hcrealkr .John Dot:s I, 2 and 3 were
         depulics employed hy the County of Monroe as police officers with the Monroe County SheriiT's
         Department and who may have participated in the initial detention of the plaint ill.


         B. That upon inf01mation and belief and al all times relevant hereafter .John Docs 4, 5 and (l were
         police officers employed hy the Town of Gates and who may have participalcd in the initial
         dclcntion   or the plaintiff.

         lJ. That upon informalion and belief John Docs 7 through 12 were deputy sheriffs employed hy
         the County or Monroe as police officers with the Monroe County Sherill's Deparlment and who
         upon fu rthcr informal ion and he lief witnessed I he trcalment of the plai nl i IT herein.


         10. Thai upon information and belief the aforementioned police officers arc           iiiHI   were al all limes
         rclevanl herein duly appointed and acting officers, servants, employees and          t~gcnls    or the Monroe
         County Sheriff's Department, a municipal agency or the Defendant COUNTY OF MONROE
         OR THE TOWN OF GATES. At. all times relevant herein, the individual police officers were
         acting under color of the laws, statutes, ordinances, regulations, policies, cusloms, and/or us;Jgcs
         of the State   or New York and the Monroe County Sheriff's Department and I he Town of Gale"i,
in the course and scope or lhcir dulic.s and l'unclions as olliccr.s, agents, servants and employees
of lhe Defendant COUNTY OF MONROE AND THE TOWN OF GATI~~ ami were acting I'm
ami nn hehalf', ami with the power and :1Uihnrily vested in them by lhe Dcrcndanl COUNTY OF
MONROE and the Monroe County Sheriff's Department and the Town of Gates and were
otherwise performing and engaging in conduct incidental to I he performance of their lawrul
functions in the course of !heir duties. Each police officer is sued individually and in thcir
official capacity for any of I he conducl toward thc Plaintill whidt they participated in m failed lo
deter.


II. By the conduct, act:-. and omissions complained of herein, the police niTiccrs named he1·cin
who engaged in such conduct or allowed such conduct to conlinue violated dear constitulinnal
standards under the Fnurl h and Fourteenth Amendments to I he United States Const ilui ion or
whidt a rcasonahlc police officer under the circumstances would have l<nown.


                                         NOTICE OF CLAIM
12. This tort act ion arises out of injury and damages to pia inti rr Charles R. Ellington .I r. caused
by deputies Whiting, Rieger, Sutherland, John Docs I, 2 and 3, John Docs 4, 5 ami (land .John
Docs 7 through 12 as agents of The County of Monroe or the Town nf Gales in the course of ami
following I he arresl of Ellington nn January 27, 2014 al or ncar a garage for 251 llinchcy Roatl
located in the Town or (-;ales County of Monroe and Stale of New York.


13. That Ellington filed a Notil:c of Claim pursuanllo Section 50( c) of the General Municipal
Law of' I he State of New Yml< within ninety (90) days of the events which gave rise to this daim.
This action is commem:cd within one year and ninety (90) days or the date plaintiff's causes of
action occurred and alkr thirty (30) days have passed withoul an offer to pay the claim.


                                      STATEMENT OF FACTS
14. Upon information and belief on or ahoul January 27,2014, Deputy Sutherland observed the
vehicle opcralctl hy Ellinglon traveling on Route 390 in violation of the applicahlc speed limil.
Upon furl her informal ion and hcl ief when Dcpul y Su Lhcrland allcmptcd to have Ellington pulled
over, the vehicle opcrah;d by Ellington slid ofT an exit ramp for Route J<J() ncar Chili Avenue and
Ellington proceeded to rice the scene.


15. Upon inl'onuation ami belief Deputy Sutherland called for hack up In 11pprchcnd Ellington
and a Momoe County Sheriff canine unit and several deputies responded. Upon further
information and belief police officers from the Town of Gates also responded.


16. That upon information and belief Deputy Michael Rieger with a canine unil discovered
Ellington in a detached garage located at 251 Hinchey Road, Gales, New York.


17. That when advised there was a canine unit outside that would he released into the garage
Ellington exited the garage in a prone position prior to being taken into custody hy the deputies
designated as John Docs I, 2 and 3 or John Docs 4, 5 and           o.

It{. That while in a prone position and prior to being physically restrained hy John Docs I, 2 and

3, or John Docs 4,:1 and   o, Deputy Rieger allowed the canine unit to lake a hilc of Ellington's
hand.


llJ. That Ell i nglon, prior In hci ng hi lien and physically restrained was com pi ia nt and mope rat ivc
with Lhc instructions he received from lhe Deputy Sheriff Rieger and John           Doc~   I, 2 and 3 or
John Docs 4, 5 ami ().


20. Thai as the John Docs I, 2 and 3 or John Docs 4, 5 and o prepared to lake Ellinglon inlo
cuslody he was kneed in the groin by one John Doc and annlhcr John Doc stripped him of his car
keys and his mohilc phone which were then thrown inlo lhc snow hy silid John Doc.


21. Thai upon information and hclicl"and despite Lhc      l~u.:L   that Ellington was cnopcralivc with
John Dm;s I, 2 and 3 or .John Docs 4, 5 and 6 even after being assaulted nne of the John Docs
placed handcull" on Ellinglon in a manner which caused injury ami pain to Ellington.


22. That Ellington complained In one John Doc thai the handcuffs were causing signiricant pain
and discomfort hulthc John Doc dismissed Ellington's complaint of pain and otherwise failed In
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    lake any measure to alleviate said pain or prevent permanent injury to Ellington.


    23. That upon information and hcliel' Ellington was put into a Monroe County Sheri IT's vehicle
    opcralcd hy Dqmty Whiting. That while in the vehicle Ellington compli1incd about the pain and
    discomfort the handcuffs were causing him but Deputy Whiting also dismissed Ellington's
    complaints and did not loosen m remove the handcuffs.


    24. That upon arriving at the Sheriff's satellite office on Lehigh Station Road Deputy Whiting
    did not have keys to access the facilities and had to waiL for another deputy   In   arrive. During the
    time he was waiting Ellington was handcuffed to a pole outside the station at a time when the
    temperatures were well helow freezing and the wind chill made it feel even colder.


    25. That Ellington was lel'l in that condition with handcuffs that were causing pain and out in
    sub-freezing temperatures for a substantial period or tim~.: before a deputy with a key to the
    facility arrived.


    2r1. That upon infmm:1tion and belief upon entry into the satcllitt.: office of the Momoe County
    Sheriff's the Henrietta Amhulancc Service was called to check out Ellington's hand whkh
    sustained I he dog hit e.


    27. That even during the examination hy the ambulance pe1sonnclthc hamlcul f's remained on
    and were not loosened or removed.


    2X. That upon information and belief subsequent to an examination     or his dog hitc wound
    Ellington was taken outside and placed in the rear scat or a police vehicle by upon inl'ormation
    and helicr Deputy Sutherland with his hands cuffed behind him. During the tim e he was
    hantll:uiTcd in this manner while wailing for relatives to pick him up the rear windows or the
    police car were lowered in order to inflict further pain and suffering upon him.


    2Y. That despite his complaints or pain and his requesting that his hamlcuiTs be loosened or
    relt.:ased Deputy Sutherland ignored his complaints.
.. ,
       35. Thai by reason of the cxccs~ive force utilized the aforesaid ddcndants violah.:<.I42U.S.C.
       § llJH3 ami suhjcded lhc plaintiff to great physical and cmotionnl pain, phy~ical disrigt11emcnl

       and humiliittion and deprived him of his liberly and was olherwise damaged and injured.


                                    SECOND CLAIM: MUNICIPAL LIAI3ILITY
                                      FOR CONSTITUTIONAL VIOLATIONS
                           MONELL CLAIM AGAINST THE COUNTY OF MONROE
                   SHERIFF PATRICK O'FLYNN AND TOWN OF GATES-42U.S.C. § II.JHJ

       3o. Plain! ill rc-allcges and incorporales by reference lhc allcgalions sci forlh in each preceding
       paragraph as if rully sci forlh herein.


       37. The Counly or Montoc, Sheriff Patrick 0' r:lynn and the Town of Gales direc11y caused Ihe
       viola! ions su fl'crcd hy pia inli ff as a resu It of 1he conducl of Ihe delcndanl ol ricers.


       JH. At all limes tclcvantto this complain! the Dcfendanls County or Monroe, O'Fiynn as Sheriff
       of Monroe County Sheri IT's Departmcnl, and the Town of Gales had in ellccl policies, pracli<.:e"
       and customs Ihal condoned and foslercd the unconditional conducl of Ihe individual ddcndants
       lhat proximately caused injuries and harm suffered by Ellington.


       JI.J. Thai said dcfendanls deliberately failed to adequately supervise and train ils oiTiccrs in lhc
       safe and proper usc of haaukulio; on arrcstces or detainees ami/or Ihe proper procedures lo follow
       in Ihe even! an arrcslee or detainee expresses (;Omplainls of pain or severe discomfort from the
       handcullo.; hcing pur on too lightly; in failing to p10perly train or supervise officers aboul the
       elTccl of sub-freezing temperatures to a detainee or arrestee who ha-. been handcuffed; in failing
       to adhere lo manufa(;lurcs recommendations and safety alerls and in failing In promulgate
       policies Ihat insure Ihal nfficets arc using equipmcnl that is not defective or which can
       cxaccrhalc Ihe injuries or arrcslces or detainee:-;.


       40. That the Cnunly of Monroe, Sheriff' O'Fiynn and the Town of Gates ,o.;hould have known of
       dcfcndanl oflicers' propensity IO engage in !he aggressive handcuffing Of iliTeSiees 01" dclainecs.
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         Upon informal ion and hclid prior to January 27,2014, Ihe Counly of Monroe, Sheriff O'Fiynn
         and the Town or Gates were aware of complainls       or police miscomlucl involving I he usc of
         excessive force induding I he usc or aggressive handcurting nf arrestecs or detainees.


         41. Despile its knowledge of such incidents of prior miM.:onducllhe County of Monroe, Sheriff
         O'Fiynn and the Town of Gates failed to Lake rcmcdi<ll action.


         42. It was lhe policy and custom or the County or Monroe, Sheriff O ' f-'lynn and the Town of
         Gates to impiOJll:lly and inadequately investigate citizen complaints of exces<.;ive fnrt:e including
         aggressive handcul ring ami said acts of misconduct were instead lolcrated hy Counly of Monroe,
         Sherin 0' f-lynn and I he Town or Gales.


         43. It was further policy and/or custom of the County of Monroe, Sheriff O'Flynn and I he Town
         of Gales lo inadequately I rain, supervise and discipline ils' police officers, induding I he
         defendanl officers induding John Docs I lhrough I 2 thereby l':liling to adequately discourage
         furlher constilulion;ll violations on the parl of its' police officers. Upon informal ion ami helid

         the County or Monroe, Sheriff O'f-'lynn and the Town of Gilles did nnl require appropriate
         service training or re- training of oiTicers who were known to have engaged in pnlit:e misconduct

         including the aggressive handc.:ulling or arrcstees or detainees.


         44. As a result of thc.o.;e policies lhe police oiTicers of the County of Monroe, umler I he
         supervision   or Sheriff 0' Flynn, and the pol icc officers of the Town or Gates, he! ievcd thai their
         actions would nnl he monitored hy superior officers and that their misconduct would nol he
         invest igalcd or s;1nct ioucd, hut wmlld he tolerated.



         45. The wrongful policies, practices, customs and or/ usages of herein, demonstrated a deliberate
         indiiTerence on the part of policy makers or the County or Monroe, Sheriff O'Fiynn and the

         Town   or Gales lo the constitutional rights of persons within Monroe County and were the direct
         and pmximale cause nr the violations or plaintirr's rights alleged herein.


                                    THIRD CLAIM: ASSAULT AND l3AITERY
                                       COMMON LAW CLAIM


46. Plaintiff rc-allcgcs and incorporales by reference the allegations in each preceding paragraph
as if fully set fmlh herein.


47. By the conduct and actions described above the aforesaid dcfemlants inflicted the torts of
assault and battery upon plaint i rr. The acts and con duel of said defendant." were 1he direct and
proximate cause of injury and damage to the plaintiff and common law rights as guaranteed hy
the laws and Constitution of the State of New York.


4K The acts or the aforesaid defendants constituted as assault upon the plaintiff in tlmt they
intentionally intended In injure plaintiff or commit a battery against him and represented a
grievous affront to him.


49. The acts of the ilforesaitl defendants constituted a ballcry upon the plaint ill in that the hmlily
contact described was intentional, unauthorized and grossly offensive in n:1lurc.


50. The act ions of I he a !'oresaid defendants were i nlcnt ion aI, reckless, unwan anted ;md without
any just cause or provocation and were done without the consent of the plaintiff.


51. The injuries sustained hy the plaintiff were caused wholly ami solely hy 1cason of the
conduct described without the plaintiff contributing thereto.


52. As a direct and proximate result of the foregoing the plaintiiT was subJect ed to     grce~t   physical
pain and disfigurement, emotional pain and humiliation, and was otherwise damaged and
injured.


        FOURTH CLAIM: INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                                       COMMON LAW CLAIM


53. Plaint irr re-a lieges and incorporates by rcl'crcncc the allegations set fo11 h i 11 each preceding
paragraph as ir fully set forth herein.
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    54. Tile conducls of tile defendants in allowing lhc plaintiiT In he hittcu, in physically assaulting
    and hattc.;ring him ;md intentionally handculTing in an aggressive matter designed to cause p:1i11
    and discharging his property and then handcuffing him to a rail outside during suh-frcczing
    temperatures was all done without cause or justification, was extreme, outrageous and ultcrly
    intolerable in a civilii::ed community and exceeded all reasonable hounds nf deceucy.


    55. The above referenced conduct was intended to and did cause severe emotional distress to the
    plai nli IT.


    56. The conduct of the defendants was lhc direct and proximate cause of the injury and damage
    In   the plaintiff ami violated his statutory and common law rights guaranteed hy the laws and
    Constitution of the State of' New York.


                   FIFTIJ CLAIM: NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS
                                             COMMON LAW CLAIM


    57. Plaintiff rc-alleges and incorporales by reference the allegations sci forth in cad1 preceding
    paragraph as if fully set forth herein.


    SK The aforesaid defendants in assaulting and battering the plaintiff, were careless :md uegligent
    as to the emotional health of the plaintiff and caused severe emotional distress to the plaintiiT.


    5'J. The acts and comlucl of lhe defendants was I he direct and proximalc cause of I he injury ami
    damages to I he pl:lintiiT and vioh1tcd his stalulory and common law rights as guaranteed by the
    laws and Constilution of the Stale of New York.


                                          SIXTH CLAIM : NEGLIGENCE
                                             COMMON LAW CLAIM

    60. PlainlilT rc-allcgcs and incorporates, by reference lhe allcgalions sci forth in each preceding
    paragraph a:-; if l'ull y SCI forth herein.
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      proximale cause or injury and damages to plaintiff and violated his statutory ami common law
      rights as guaranteed hy the laws and Constitution of the State of New York.


67. As a result or the foregoing the plaintiff Ellington was deprived of his lihcrty, was subjected to
      physical pain and disfigurement, emotional pain and suffering ami was otherwise dnmagcd and
      injured.


                      NINTII CLAIM: DENIAL OF EFFECTIVE MEDICAL CARE


                 DIWRIVATION OF RIGHTS UNDER THE FOURTEENTH AMENDMENT
                                            AND 42 U.S.C   §l~tD




6~.   Plaintifl' rc-allcges ami incorporates hy reference the allegations set forth in each preceding
      paragraph as if fully set forth herein.


6~.   Mcmhcrs of the Monroe County Sheriff's Depmtment have an aJTirmative duty to seck medical
    allcntion for persons who me injured in the course of being apprehended hy the police.


70. That during the course of plaintiiT's apprehension he sustained a dog hitc to his haJHL


71. Upon information and helid such an injury required the Monroe County Sheritl's Department
    to call J'or medical allcntion and upon further information and belief allow that medical atlcntion
    to he administcll:d in an eJTcctive manner for dealing with the plaintiff's injuries.


72. Upon information and hclicl' Deputies Whiting, Sutherland, and various John Docs designated
    as Monroe County Sherif!' Deputies were aware that plaintiff Ellington was experiencing extreme
    physical pain as a result or the malicious usc of excessive and unnecessary force used hy .John
    Docs I, 2 and J. or .John Docs 4, 5 and 6 in placing handcuffs 011 Ellington in a manner designed
    to cause the most physical pain.


73. That when members of the Henrietta Ambulance were called to inspect the dog hitc wounds
  suslained hy Ellington, they were forced lo do so while Ellington was handcuffed hccausc the
  various .John Docs whn were Monroe Counly Sheriff Depulics did not want to Jessen the
  physical pain Ihal Ellinglon was suffering from my removing lhe hamk:ulls.


74. The conducl an<l aclinns of Ihe defendants Whiting, Sutherland and various .John Docs acting
  under code of law, in failing to allow proper medical allention for Ellington was umcasonahlc,
  was done intentionally, willfully, maliciously, with a deliberate indiiTercnce and/or reckless
  disregard for Ellington's serious medical needs, and was designed In and did cause specific and
  serious physic:1l pain, physical disfigurement, emotional pain and suffering in violation of
  plaintiff's suhslantivc <lue process rights as guaranteed under 42 U.S.C. §I 9t0 and I he
   Fourtcenlh Amcndmcnllo lhc Unilcd Stales ConstiLulion.


75. As a direcl and proximalc result of the foregoing, plainliiT was suhjcclcd In gn.:al physical pain,
  physical disfiguremcnl, cmolional pain and suffering and was otherwise d;lllwged and injured.


WHEREFORE, Plaintiff demands the following relief jointly and severally against all of I he
  de lend ants:
          a. Compensation damages in an amount to be determined hy a jury;
          h. Punilive damages in an amounllo he dclcrmincd by a jury;
          c. The convening and cmpanclling of a jury to consider I he mcril of the claims herein;
          d. Costs and interest and allorncy's fees
          c. Such other and furl her relief as tllis Court may deem jusl and proper




Dared: April 2 I, 20 15
       Rm;hesler, New York
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                                                                           Burke~-=
                                                                 Patrick .1 .
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                                                                 16 West Main Slrccl, Suite 100
                                                                 Rochester, New York 14(, 14
                                                                 (5~5)232-:SlJ:SX (T)
                                                                 (5~5)232-6X04 (F)
                                                                 Allorncy ror Plaintiff
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                                                   VERIFICATION



     STATE OF NEW YORK                                   )
     COUNTY OF MONROE                                    )                 ss.:


             CHARU~'i It ELLINGTON, hcing duly sworn, depor;e and stale: deponent is the plainliiT in lhe
     within action. deponent has read the foregoing Complaint, and knows the contents lhercnr. the same i"
     tme as In deponents' own knowledge, except as lo those mailers therein slated lo he alleged upon
     infmmaliun and belief. ami as lo those mailers, deponent hel"c~c.c; it to he IJ :Jc.   ~· .   ., ~   •

                                                                      ·' ."·CHARLES-.. R. hL/~
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